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      1   MICHAEL D. LONG (CA State Bar #149475)
          901 H Street, Suite 301
      2
          Sacramento, CA 95814
      3   (916) 447-1920
          Mike.Long.Law@msn.com
      4
          Attorney for SHANEMA McQUEEN
      5

      6                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
      7
          THE UNITED STATES OF AMERICA,                 ) No. CR-S-10-97 JAM
      8
                          Plaintiff,                    )
      9
                                                        ) APPLICATION FOR TRANSPORTATION;
                 v.                                     ) ORDER
     10                                                 ) FOR TRANSPORTATION
                                                        )
     11   SHANEMA McQUEEN,                              ) 18 USC §4285
     12
                          Defendant.                    )
          ================================)
     13
                 Defendant SHANEMA McQUEEN, by and through her attorney, Michael D. Long, hereby
     14

     15
          requests the court to order the United States Marshal to pay for her transportation from her home in

     16   South Carolina to Sacramento, California.

     17          In case 10-97 JAM, defendant SHANEMA McQUEEN, flew from South Carolina to
     18
          Sacramento to make her initial appearance before the magistrate on April 15, 2010. She borrowed
     19
          money from friends and relatives to come up with enough money to make the cross-country flight.
     20
          She was unable to borrow enough money to fly to Sacramento for our May 4, 2010, initial
     21

     22   appearance in District Court. Thus far, Ms. McQueen as been unable to borrow enough money to

     23   purchase a round-trip airline ticket to enable her attend our next scheduled court appearance on June
     24
          8, 2010.
     25
                 Application is hereby made for an Order for Transportation and subsistence allowance for
     26
          defendant SHANEMA McQUEEN to travel round-trip from her home in South Carolina, to
     27

     28   Sacramento, California for the purpose of meeting with undersigned counsel and attending the June



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      1   8, 2010, status conference. Counsel is requesting that Ms. McQueen fly to Sacramento on June 6,
      2
          2010. Counsel requests that she fly back to South Carolina on the evening of June 8 or the morning
      3
          of June 9, 2010, depending on available flights.
      4
          Dated: May 19, 2010                                      Respectfully submitted,
      5

      6                                                            /s/ Michael D. Long__________
                                                                   MICHAEL D. LONG
      7                                                            Attorney for Ms. McQUEEN
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      2
          901 H Street, Suite 301
      3   Sacramento, CA 95814
          (916) 447-1920
      4   Mike.Long.Law@msn.com
      5
                                  IN THE UNITED STATES DISTRICT COURT
      6                         FOR THE EASTERN DISTRICT OF CALIFORNIA

      7   THE UNITED STATES OF AMERICA,                 ) No. CR-S-10-97 JAM
                          Plaintiff,                    )
      8
                                                        ) ORDER FOR TRANSPORTATION
      9
                 v.                                     ) AND SUBSISTENCE
                                                        )
     10   SHANEMA McQUEEN,                              ) 18 USC §4285
                          Defendant.                    )
     11   ================================)
     12          IT IS HEREBY ORDERED that the United States Marshal pay for round-trip
     13   transportation for defendant SHANEMA McQUEEN from South Carolina, to Sacramento,
     14   California, and provide her with subsistence while in Sacramento, for the purpose of attending the
     15   June 8, 2010, status conference.
     16          IT IS HEREBY FURTHER ORDERED that Ms. McQueen fly to Sacramento on June 6,
     17   2010. Counsel requests that she fly back to South Carolina on the evening of June 8 or the morning
     18   of June 9, 2010, depending on available flights.
     19          Ms. McQueen is indigent and financially unable pay for travel to Sacramento, California
     20   and return to South Carolina. This order is authorized pursuant to 18 U.S.C. §4285.
     21

     22
          Dated: May 20, 2010                                      /s/ John A. Mendez____________
                                                                   JOHN A. MENDEZ
     23                                                            United States District Court Judge

     24

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